                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                              CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                  Plaintiff,                                     No. 06-CR-162-1-LRR
 vs.
                                                                          ORDER
 LAMONT WILLIAM PAPAKEE
                  Defendant.
                                      ____________________

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                                  I. INTRODUCTION
      The matters before the court are the government’s Request for Clarification
(“Request”) (docket no. 48) and Defendant LaMont William Papakee’s Objections (docket
no. 52) to the United States magistrate judge’s Report and Recommendation (docket no.
33). The United States magistrate judge recommends that the court deny Defendant’s
Motion to Suppress and Request for Hearing (“Motion”) (docket no. 29).
                         II. PROCEDURAL BACKGROUND
      Defendant is charged in a two-count Superseding Indictment with his co-defendant,
                            1
Connie Frances Blackcloud. Count 1 charges Defendant with Aggravated Sexual Abuse
in Indian Country, in violation of 18 U.S.C. §§ 2, 1151, 1153 and 2241(a)(1). Count 2
charges Defendant with Sexual Abuse in Indian Country, in violation of 18 U.S.C.
§§ 1151, 1153 and 2242(2).
      On February 22, 2007, Defendant filed the Motion. On March 1, 2007, the
government filed a Resistance. On March 6, 2007, the United States magistrate judge
issued the Report and Recommendation.
      On March 13, 2007, the government filed the Request. On March 15, 2007,
Defendant filed the Objections.
                            III. STANDARD OF REVIEW
      The undersigned is required to “make a de novo determination of those portions of
[the Report and Recommendation] to which objection is made.” 28 U.S.C. § 636(b)(1);
see, e.g., United States v. Uscanga-Ramirez, 475 F.3d 1024, 1027 (8th Cir. 2007) (stating
that de novo review is “required”). The undersigned “may accept, reject, or modify, in
whole or in part, the findings or recommendations made by the magistrate judge.” 28


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        On December 7, 2006, Defendant and Blackcloud were charged in a one-count
Indictment with Sexual Abuse in Indian Country, in violation of 18 U.S.C. §§ 2, 1151,
1153 and 2242(2). On March 7, 2007, the Superseding Indictment was filed.

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U.S.C. § 636(b)(1). The undersigned “may also receive further evidence or recommit the
matter to the magistrate judge with instructions.” Id.
                               IV. FACTUAL FINDINGS
      In the Request, the government alleges that there are several inadvertent
misstatements of fact in the Report and Recommendation and asks the court to clarify
them. Defendant does not object to any of the United States magistrate judge’s factual
findings.
      The court agrees that the Report and Recommendation transposes the names of the
law enforcement officers involved in the procurement of the search warrant at issue.
Accordingly, the court shall grant the Request.
      For the sake of clarity, the court sets aside all of the factual findings in the Report
and Recommendation and makes the following factual findings:
                                     A. The Players
      Bryan Ellenbecker is a Deputy with the Tama County Sheriff’s Office. Dwight
Spotted Tail is a Police Officer with the Meskwaki Nation Police Department. Jason
Amoriell is a Special Agent with the Federal Bureau of Investigation. The Honorable
Chad Frese is a part-time magistrate judge for the State of Iowa.
                             B. Search Warrant Application
      On September 8, 2006, Deputy Ellenbecker applied to Magistrate Frese for a search
                                                      2
warrant, pursuant to Iowa Code chapter 808 (2005).        See Gov’t Ex. 1 (docket no. 32-1)

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          Iowa Code section 808.3 provides:
              A person may make application for the issuance of a search
              warrant by submitting before a magistrate a written
              application, supported by the person’s oath or affirmation,
              which includes facts, information, and circumstances tending
              to establish sufficient grounds for granting the application, and
              probable cause for believing that the grounds exist. . . . The
                                                                               (continued...)

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at 1. Deputy Ellenbecker brought Officer Spotted Tail and Special Agent Amoriell to
Magistrate Frese.
       In his written search warrant application (“Application”), Deputy Ellenbecker
sought authorization to search a “[b]lue 2-[s]tory house with an address of 315 Red Earth
Drive, Tama, Iowa” and any vehicles at that address for “[a] bloody pillow, bloody
clothing . . . , broken glass, [a] cucumber, all used cigarette butts, all beer bottles and cans
. . . . [and] any items that have blood, blood stain or [are] related to a sexual assault.” Id.
The application also sought authorization to search the persons of Defendant and
Blackcloud.
       In the Application, Deputy Ellenbecker swore:
                I’m a certified peace officer for the State of Iowa. I’m
                currently employeed [sic] as a Deputy with the Tama County
                Sheriff’s Office. I have a Bachelor’s Degree from Buena Vista
                College, I completed the Iowa Law Enforcement Academy in
                the 144th Basic. I have been in law enforcement for 12 years
                as a full-time office [sic] and 6 years of Reserve and Part-time
                experience. I have attended numerous trainings on Sex Abuse,
                Drug Classes, and all aspects of law enforcement. On
                09-08-06, I received information from Chief Deputy Dave
                Ruopp of a possible sexual assault case that had happened at
                315 Red Earth Drive, Tama, Iowa in Tama County.
                Information was given to the Tama County Sheriff’s Office by
                Officer Dwight Spotted Tail with the Meskawki Tribal Police.
                (See attached Case Investigation Report).
Id. at 5.

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           (...continued)
                 magistrate may . . . require that a witness upon whom the
                 applicant relies for information appear personally and be
                 examined concerning the information.
Iowa Code § 808.3.




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      Deputy Ellenbecker attached a Case Investigation Report (“Report”) to the search
warrant application. Officer Spotted Tail prepared the Report, in which he stated:
             I was approached by Denise Davenport who is an employee of
             the tribe and told that she had been made aware of a woman
             who was the victim of a sexual assault that had occurred on or
             about Wednesday night, 6 September.

             I inquired further and was told that the victim, Ms. Lucie
             Dale, had been to a party at the home of Mr. LaMont
             Papakee. Denise Davenport had been told of the incident by
             Rita Papakee who allegedly had gone to the party and
             witnessed the victim nude and passed out on the floor of the
             residence. Rita told Denise that the victim had been doused
             with beer and had her clothing removed presumedly by
             participants at the party. She then left.

             Rita supposedly went back a second time and observed the
             victim was bloody with lacerations and bruises about her body.
             Rita was aparently [sic] able to get the victim up and take her
             to the home of Rodney Papakee where she gave her clothing
             and assistance.

             The next day Rita contacted a friend who is a nurse and asked
             her to come to the house and examine the victim. The victim
             refused any medical treatment and refused to report the
             incident to the police. Rita also allegedly told Denise that she
             had seen multiple lacerations and bruised [sic] on the victims
             [sic] body including cigarette burns on her pubic area and her
             buttocks. Rita told Denise that the victim had been sexually
             assaulted with a beer bottle and a cucumber and was bleeding
             from her rectum and vagina.

             I made contact with Rita Papakee and spoke with her about the
             incident. She confirmed the heresay [sic] information Denise
             had given me. She also gave me the names of several of the
             participants who were present at the party when she was there.
             I asked [R]ita if they had called the Tama County Sheriff and
             she said they had. She said a deputy came out and the victim


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             told him that she was alright and didn’t want to make a report,
             the deputy apparently left without making a report.

             I then made contact with the victim who was at the residence
             of Rodney Papakee. I observed bruises and abrasions on her
             head and she said she was having “real bad pains in my head.”
             I tried to get her to tell me what had happened but she was
             very reluctant and kept saying she did not want to report
             anything but just wanted to go home. I continued to talk to her
             and attempt [sic] to establish a rapport and she did tell me she
             had been hit in the head with vodka bottle by Connie
             Blackcloud and was also beaten by LaMont. I tried to get her
             to go for an examination and she refused. I was able to
             convince her to come to the police station and take some
             pictures of her injuries. I was able to obtain photographs
             showing injuries to her head, arms, buttocks and legs. The
             injury I observed on her buttocks resembled that of a cigarette
             burn. She told me she had similar burn marks on her pubic
             area but did not want me to photograph them. Prior to coming
             to the station I took her to LaMont’s house at her request to
             attempt to get her clothes. On the way out the door she said
             he was washing the blody [sic] pillows and was attempting to
             get rid of the evidence.

Id. at 4.
       Magistrate Frese reviewed the Application, including the Report, and placed all
three law enforcement officers under oath. He then questioned Officer Spotted Tail and
Special Agent Amoriell.
       Officer Spotted Tail confirmed the truth of much of the information in the Report.
He verified that he personally interviewed Ms. Dale and observed and photographed many
of her injuries. Ms. Dale told Officer Spotted Tail that Defendant had beaten her,
indicated that she was bleeding from her pubic area and told him that she had burn marks
on her pubic area.
       Special Agent Amoriell told Magistrate Frese that another FBI Special Agent,


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Special Agent Brad Murkins, met Ms. Dale at a bus station. Special Agent Murkins saw
Ms. Dale and believed she had “swelling and lacerations on her face that were consistent
with being hit with a Vodka bottle.” Gov’t Ex. 2 (docket no. 32-2) at 3.
       Magistrate Frese considered the entire Application, including Deputy Ellenbecker’s
affidavit, as well as the testimony of Officer Spotted Tail and Special Agent Amoriell.
Based on all of the evidence, Magistrate Frese found there was “probable cause that a
crime had occurred and there’s evidence of a crime to be found at the residence of Mr.
Papakee.” Id.; see also Gov’t Ex. 1 (docket no. 32-1) at 6 (same). He issued the
requested warrant.
                                     V. ANALYSIS
       Defendant objects to nearly all of the United States magistrate judge’s legal
conclusions in the Report and Recommendation. Defendant reasserts his arguments that:
(1) the search warrant lacked probable cause; (2) Defendant is entitled to a hearing
pursuant to Franks v. Delaware, 438 U.S. 154 (1978); and (3) the government is not
                                                                                          3
entitled to rely on the good faith exception in United States v. Leon, 468 U.S. 897 (1984).
In a new argument, Defendant asks the court to suppress statements he made to law
enforcement at the time of his arrest, because the government violated Miranda v. Arizona,
384 U.S. 436 (1966). The court considers each of Defendant’s arguments, in turn.
                                   A. Probable Cause
       The Fourth Amendment states that “no Warrants shall issue, but upon probable
cause, supported by Oath or affirmation . . . .” U.S. Const. amend. IV. “Determinations
of probable cause must be premised on the totality of the circumstances.” United States
v. Williams, 477 U.S. 554, 557 (8th Cir. 2007). “‘The task of the issuing magistrate is

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        Defendant does not object to the United States magistrate judge’s conclusion that
Deputy Ellenbecker’s “magistrate shopping” did not render the search warrant invalid.
Because Defendant does not object, the court does not consider this argument. 28 U.S.C.
§ 636(b)(1).

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simply to make a practical, common-sense decision whether, given all the circumstances
set forth in the affidavit before him . . . there is a fair probability that contraband or
evidence of a crime will be found in a particular place.’” Id. (quoting Illinois v. Gates,
462 U.S. 213, 238 (1983)).
       “An issuing judge’s probable cause determination is entitled to substantial
deference.” United States v. Durham, 470 F.3d 727, 733 (8th Cir. 2006) (citing United
States v. LaMorie, 100 F.3d 547, 552 (8th Cir. 1996)). “[T]he duty of a reviewing court
is simply to ensure the magistrate had a substantial basis for concluding that probable cause
existed.” Gates, 362 U.S. at 238-39 (citations, internal quotation marks and alterations
omitted).
       Defendant contends the warrant lacked probable cause, because “[i]n advance of
presenting the search warrant, Officer [sic] Ellenbecker relied on the hearsay testimony
of Dwight Spotted Tail, an officer with the Mesquakee [sic] nation, and not a peace
officer. . . . [T]here is no precedent for relying on a non-law enforcement officer without
further corroboration.” Objections (docket no. 52-1) at 1-2. Defendant also points out
that “Dwight Spotted Tail offered no hearsay evidence to the Magistrate that Lamont
Papakee assaulted Ms. Dale in his residence, nor did officer [sic] Ellenbecker corroborate
independently the fact presented in Officer [sic] Ellenbecker’s affidavit.” Id. at 2.
       Considering the totality of the circumstances, the court holds that Magistrate Frese
had a substantial basis for concluding that probable cause existed. Probable cause may be
established in a variety of ways.       “‘[P]robable cause may be established by the
observations of trained law enforcement officers or by circumstantial evidence.’” United
States v. Terry, 305 F.3d 818, 822-23 (8th Cir. 2002) (quoting United States v. Searcy,
181 F.3d 975, 981 (8th Cir. 1999)). “An informant’s tip can be relied on to support a
probable cause determination if the informant has provided reliable information in the past
or if the tip is independently corroborated.” Durham, 470 F.3d at 733. “Observations of


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fellow officers . . . engaged in a common investigation are plainly a reliable basis for a
warrant applied for by one of their number.” United States v. Ventresca, 380 U.S. 102,
111 (1965).
      In his affidavit, Deputy Ellenbecker swore that he was a trained and certified law
enforcement officer and had received information from Officer Spotted Tail and another
deputy in the Tama County Sheriff’s Office that a sexual assault had occurred at 315 Red
Earth Drive, Tama, Iowa. He then attached Officer Spotted Tail’s Report.
      In the Report, Officer Spotted Tail detailed the information he received from the
primary informant in the case, Ms. Rita Papakee. He reported that Ms. Papakee had
observed Ms. Dale at Defendant’s residence naked after being doused with beer. Ms.
Papakee left the party, and when she returned, she saw bruises, lacerations and burns on
Ms. Dale’s body, including cigarette burns on her pubic area and her buttocks. Ms.
Papakee named some of the party’s attendees. Officer Spotted Tail followed up on Ms.
Papakee’s allegations and talked to Ms. Dale personally. He saw injuries on her head and
buttocks that were consistent with Ms. Papakee’s information. Ms. Dale identified
Defendant and Blackcloud as the perpetrators of the assault. Officer Spotted Tail drove
Ms. Dale to Defendant’s home to attempt to retrieve her clothes. After stopping by
Defendant’s home, Defendant told Officer Spotted Tail that Defendant was trying to get
rid of evidence by washing bloody pillows.
      Although Deputy Ellenbecker’s affidavit relied upon hearsay within hearsay, he
swore that the underlying informant (implicitly Ms. Papakee) “has previously given
reliable information.” Gov’t Ex. 1 (docket no. 32-1), at 6. To pierce through some of the
layers of hearsay and corroborate the underlying information, Deputy Ellenbecker also
provided Magistrate Frese the opportunity to examine Officer Spotted Tail and Special
Agent Amoriell under oath. Officer Spotted Tail verified the contents of his Report. His
personal observations verified the accounts of Ms. Papakee. Special Agent Amoriell


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provided further corroboration, insofar as he told Magistrate Frese that Special Agent
Murkins saw the victim and observed facial injuries consistent with being hit with a vodka
bottle.
          The court need not decide whether Officer Spotted Tail is a trained and certified
“peace officer” who is entitled to investigate crime and apply for and execute search
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warrants in the State of Iowa.       Even if Officer Spotted Tail’s testimony were simply the
testimony of a concerned citizen, Magistrate Frese was free to credit it without requiring
additional indicia of reliability. See United States v. Dukes, 432 F.3d 910, 913 (8th Cir.
2006) (“It is well-settled that the personal and recent knowledge of named eyewitnesses
is sufficient to establish probable cause.”). As one noted writer has observed:
                The lower courts have rather consistently held that the proof-
                of-veracity rules which obtain in informant cases are not
                applicable with respect to other sources of information. This
                result has been reached when the source of the information has
                been characterized as a “victim” or “eyewitness to the crime,”
                a “citizen eyewitness,” “a complaining witness,” “a
                cooperative citizen,” a “concerned citizen,” “an ordinary
                citizen,” “an average citizen[,]” a “citizen-informant,” “an
                informant not from the criminal milieu,” a “citizen-informer,”
                or a “nonprofessional informant”.

Wayne R. LaFave, Search & Seizure: A Treatise on the Fourth Amendment § 3.4(a) (4th
ed. 2004) (footnotes omitted) (citing, in part, Cundiff v. United States, 501 F.2d 188, 190
(8th Cir. 1974)). In other words, even if Officer Spotted Tail is not a law enforcement
officer, he is not a classic “informant” but a “cooperative citizen,” “concerned citizen”


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          To enforce certain provisions of the Iowa Criminal Code, a law enforcement
officer must be a “peace officer” as defined in Iowa Code section 801.4. See, e.g., Iowa
Code § 804.6 (“An arrest pursuant to a warrant shall be made only by a peace officer.”).
It is presently unsettled whether Meskwaki Nation Police Officers are “peace officers.”
See 2006 Op. Iowa Att’y Gen. 6-9-1 (Sieverding to Gronstal, Sept. 19, 2006) (opining that
Meskwaki Nation Police Officers are “peace officers” under Iowa Code section 801.4).

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or “nonprofessional informant.” There is no reason to question Officer Otter Tail’s
reliability.
       Accordingly, the court overrules Defendant’s Objections, insofar as he alleges that
the warrant was not supported by probable cause.
                                    B. Franks Hearing
       Defendant contends that he “is entitled to a Franks hearing.” Objections at 2. In
the Motion, Defendant more specifically argued that Deputy Ellenbecker, Officer Spotted
Tail and Special Agent Amoriell “misled the magistrate by way of omission of facts
specific to the location or occurrence of assault by the Defendant.” Motion at 3.
       The Eighth Circuit Court of Appeals recently summarized the analysis that applies
when a defendant contends he is entitled to a Franks hearing:
               To be entitled to a [Franks] hearing . . . a defendant must
               make a substantial preliminary showing that includes

                      allegations of deliberate falsehood or of reckless
                      disregard for the truth[. T]hose allegations must
                      be accompanied by an offer of proof. They
                      should point out specifically the portion of the
                      warrant affidavit that is claimed to be false; and
                      they should be accompanied by a statement of
                      supporting reasons. Affidavits or sworn or
                      otherwise reliable statements of witnesses should
                      be furnished, or their absence satisfactorily
                      explained. Allegations of negligence or innocent
                      mistake are insufficient. The deliberate falsity
                      or reckless disregard whose impeachment is
                      permitted . . . is only that of the affiant, not of
                      any nongovernmental informant.

               Franks[,] 438 U.S. [at] 171. While clear proof of these
               elements is not required at the stage at which the defendant is
               demonstrating an entitlement to an evidentiary hearing, United
               States v. Owens, 882 F.2d 1493, 1498 (10th Cir. 1989), the
               defendant still must make a “substantial preliminary showing”

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              comprised of specific allegations along with supporting
              affidavits or similarly reliable statements. Cf. Franks, 438
              U.S. at 171 (describing the showing requirements for allegedly
              false statements in warrant affidavits). Because “[t]here is ...
              a presumption of validity with respect to the affidavit
              supporting the search warrant[, t]o mandate an evidentiary
              hearing, the challenger’s attack must be more than conclusory
              and must be supported by more than a mere desire to
              cross-examine.” Id. The substantiality requirement is not
              lightly met. United States v. Wajda, 810 F.2d 754, 759 (8th
              Cir. 1987).

Williams, 477 F.3d at 557-58.
       Officer Spotted Tail’s Report specifically states that the alleged sexual assault
occurred at a party at the home of LaMont Papakee. Gov’t Ex. 1 (docket no. 32-1), at 4;
see also id. at 2. It also specifically describes Defendant’s residence as 315 Red Earth
Drive. Id. at 3. Deputy Ellenbecker swore to the truth to the facts in the Report, and
Officer Spotted Tail confirmed the substance of the Report under oath. Magistrate Frese
then issued the warrant to search the residence at 315 Red Earth Drive, Tama, Iowa.
       The court finds that no facts were omitted and Magistrate Frese was not misled.
Defendant has failed to make a substantial preliminary showing sufficient to justify a
Franks hearing.
       Accordingly, the court overrules Defendant’s Objections, insofar as he alleges that
he is entitled to a Franks hearing.
                                      C. Good Faith
       Defendant contends that, if the warrant lacked probable cause or there was a Franks
violation, “the warrant cannot survive the Leon Good Faith Exception.” Objections at 2.
Under Leon, “evidence is admissible when it is objectively reasonable for a police officer
to have relied in good faith on the issuing judge’s probable-cause determination.” United
States v. Puckett, 466 F.3d 626, 629-30 (8th Cir. 2006) (citing Leon, 468 U.S. at 922).


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             There are four circumstances in which the good-faith exception
             does not apply: (1) when there is a Franks violation; (2) when
             an issuing judge has “wholly abandoned his judicial role”; (3)
             when it is entirely unreasonable to believe that an affidavit
             provides probable cause to issue a warrant; and (4) when the
             warrant is “so facially deficient” that no police officer could
             reasonably presume the warrant to be valid.

Id. at 630 (quoting Leon, 468 U.S. at 923).
      As indicated, the court finds that there was probable cause to support the warrant
and there was no Franks violation. Therefore, the court need not reach the merits of
Defendant’s Leon good-faith argument. See United States v. Davis, 471 F.3d 938, 947
(8th Cir. 2006) (declining to address Leon good-faith argument where affidavit provided
probable cause to support search warrant).
      Accordingly, the court overrules Defendant’s Objections, insofar as he alleges that
the Leon good faith exception does not apply.
                                   D. New Argument
      In a new argument not presented in the Motion, Defendant asks the court to
suppress certain statements he allegedly made to law enforcement officers at the time of
his arrest. Defendant explains that, after the Report and Recommendation was filed,
counsel for the government gave Defendant a copy of a previously undisclosed FBI report.
In the FBI report, Defendant is reported as making a number of statements to law
enforcement officers. Defendant asks the court to suppress the statements pursuant to
Miranda v. Arizona, 384 U.S. 436 (1966).
      Defendant’s argument is procedurally defective, because it is not an objection to the
Report and Recommendation.        If Defendant believes that the statements should be
suppressed, he should file a formal motion to suppress. The court grants Defendant two
court days from the date of the instant Order to file such a motion.



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                             VI. CONCLUSION
   IT IS ORDERED:
   (1)   The government’s Request (docket no. 48) regarding the Report and
         Recommendation (docket no. 33) is GRANTED;
   (2)   Defendant’s Objections (docket no. 52) to the Report and Recommendation
         (docket no. 33) are OVERRULED;
   (3)   The United States magistrate judge’s Report and Recommendation (docket
         no. 33) is SET ASIDE IN PART AND ADOPTED IN PART;
   (4)   Defendant’s Motion (docket no. 29) is DENIED; and
   (5)   The time between the filing of Defendant’s Motion and the date of this Order
         is hereby excluded from calculation under the Speedy Trial Act. 18 U.S.C.
         § 3161(h)(1)(F) (excluding delay resulting from the filing of any pretrial
         motion through the conclusion of the hearing thereon); 18 U.S.C.
         § 3161(h)(1)(J) (excluding “delay reasonably attributable to any period, not
         to exceed thirty days, during which any proceeding concerning the defendant
         is actually under advisement by the court”).
   IT IS SO ORDERED.
   DATED this 21st day of March, 2007.




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